Case 2:21-cv-04232-GAM Document2 Filed 09/24/21 Page 1 of 38

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

“Deter vi

 

 

(In the space above enter the full name(s) of the plaintiff(s).)

- against -

Creneas  S SiiOncd “Secgeer | COMPLAINT
Jury Trial: Yes 1 No

 

(check one)

 

 

 

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, address and telephone number. If you are presently in custody, include your identification
number and the name and address of your current place of confinement. Do the same for any additional
plaintiffs named. Attach additional sheets of paper as necessary.

Plein Neue \ Jeoara\n KK. AA

Street Address WA Acdsey OO

County, City \ ooer t Jac\oy \e\ou rc forustec)
State & Zip Code __ BSS, =] NA ORD

Telephone Number Q\5- DSA -MNGG

 

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Case 2:21-cv-04232-GAM Document 2 Filed 09/24/21 Page 2 of 38

B. List all defendants. You should state the full name of the defendants, even if that defendant is a government
agency, an organization, a corporation, or an individual. Include the address where each defendant can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.
Attach additional sheets of paper as necessary.

 

 

Defendant No. 1 -. Name___Grenedgre ¥S- Coch Gacives
Street Address $s» @ & Crex WOQa
County, City — Deaveclan

 

State & Zip Code On GAOT

Defendant No. 2 Name
Street Address

 

 

County, City
State & Zip Code

 

 

Defendant No. 3 Name
Street Address

 

 

County, City

 

State & Zip Code

Defendant No. 4 Name
Street Address

 

 

County, City
State & Zip Code

 

 

IL. Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal Jaws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 is a diversity of citizenship case.

A. What is the basis for federal court jurisdiction? (check all that apply)
Q Federal Questions Q Diversity of Citizenship

B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at
issue?

 

 

 

Rev. 10/2009 ~2-

 
 

 

What
happened
to you?

 

 

Case 2:21-cv-04232-GAM Document 2 Filed 09/24/21 Page 3 of 38

C. If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

 

Defendant(s) state(s) of citizenship

 

Til. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of otier persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
separate paragraph. Attach additional sheets of paper as necessary.

ne

A. Where did the events giving rise to your claim(s) occur? Ow

 

B. What date and approximate time did the events giving rise to your claim(s) occur? ~~ A=3%-200)

 

C. Facts: “De RPaciwag “19 Onccucnt ve _ “wehormnoNnen An Ane Csesite
aceon s. Upon ce nenrag anny 2

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Who did
what?

 

 

Was
anyone
else
involved?

 

 

Who else
saw what

happened? —

 

xe S E cody

 

 

 

 

Ne

 

 

 

 

 

 

 

 

Rev. 10/2009 ~3 -

 

 
Case 2:21-cv-04232-GAM Document 2 Filed 09/24/21 Page 4 of 38.

 

IV. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,

you required and received. “N AASNan Nay Nana Oy PAC sacl, “ya Ne

CAXAaAKS ce Cay coach dau “Nn XO VEO Se ROS NR eke

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ered CLEAN O\nedce Sess \ngy eg oXnve\s, odlerce A every

acea ost PA \ke and CM Aarddveas —¢ Ly e\\ Dead

 

V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and

the basis for such compensation.

—

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Case 2:21-cv-04232-GAM Document 2 Filed 09/24/21 Page 5 of 38

I declare under penalty of perjury that the foregoing is true and correct.

Signed this day of Recvenn\ner ,20 2)

Signature of Plaintiff__\_ )» bok O. 00

Mailing Address WAS AreAs\eo.. et
Doce Oacloy Po \Gq8>

 

Telephone Number a\s-952- QuQ9s
Fax Number (if you have one) AIS- DAU UGOD

E-mail Address \ On WS 30 Qana COM

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
provide their inmate numbers, present place of confinement, and address.

For Prisoners:

I declare under penalty of perjury that on this day of , 20 , lam delivering

this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the
Eastern District of Pennsylvania.

Signature of Plaintiff:

 

 

Inmate Numb er

Rev. 10/2009 -5-

 

 
JS44. (Rev. 10/20) Case 2:21-cv-04232¢GANI, Pqgunpent 2p Filed 09/24/21 Page 6 of 38

The JS 44 civil cover sheet and the information contained herein neither replace sor surpiemeni the filing and service of pleadings or other papers as required by law, exsept »:
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqaired for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE Oi? THIS FORM.)

I. (a) PLAINTIFFS | DEFENDANTS
DEBORAH HILL GENESIS FS CARB SERVICES

(b) County of Residence of First Listed Plaintiff _ County of Residence of First Listed Defendant ee ee
(EXCEPT IN U.S. PLAINTIFF CASES) ts (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMMA’ [ON CASES, USE THE LOCATION OF
THE TRACY OF LAND INVOLVED

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

 

    

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) I. CITIZENSHIP OF FRINCIPAL PARTIES (Place an “2” in One Ba:

(For Diversity Cases Only) and One Box jor Defend

 

 

 

 

       

 

   

CL] 1 U.S. Government [k]3 Federal Question PIF DEF PTY

Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 | 1 Incorporated or Principal Place CI 4

of Business In This Stave

[_]2 U.S. Government (14 Diversity Citizen of Another State [-]2 [Xx] 2 Incorporated and Principal Place is [as

Defendant (Indicate Citizenship of Parties in Item Ill) of Business In Another State

Citizen or Subject of a [33 (} 3. Foreign Nation [il 6. (46
Foreign Country Pe

IV NATURE OF SUIT (Place an “X" in One Box zs Only) Click here for: Nature of Suit Code Descripti

  
 
 
 
   
  

    

RANKETRTOY

     

| FORFEITURE/PSNALTY.

 

 

 

 

 

     
   
   
    

 
 
 

 

 
 
 
 
     

110 Insurance PERSONAL INJURY. PERSONAL INJURY | 625 Dug Related Seizure Tr) 422 Appeal 28 JSC 158
120 Marine 310 Airplane | 365 Personal Injury - —* > af Property 21 USC 881 r | 423 Withdrawal
130 Miller Act 315 Airplane Product Product Liability [ese Ovher * 28 USC IS7
140 Negotiable Instrument Liability | 367 Health Care/ ' : see ues
ml 150 Recovery of Overpayment 320 Assault, Libel & . Pharmaceuticai =~ ‘
& Enforcement of Judgment Slander Perscnal injury '
151 Medicare Act 330 Federal Employers’ - Product Liability | Ase
152 Recovery of Defaulted Liability C 368 Asbestos Persona! 468 De
Student Loans 340 Marine Injury Preduct AT
(Excludes Veterans) 345 Marine Product Liability :
["] 153 Recovery of Overpayment Liability PERSONAL PROPERTY |. x} 480
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud ‘
{_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending

 

 

L] 190 Other Contract Product Liability | 380 Other Personal | 4720 Labor! Mar agement,
195 Contract Product Liability 360 Other Personal : Property Damage Relations °° a
196 Franchise Injury | 385 Property Damage 740 Railwey Lebor Act ( = 3
362 Personal Injury - Product Liability 75) Famiiy 2nd Medical LIWAWV (4C5(2))

    

Medical SS ; Leave Act j S64 SSID Tite XVI

   
   

  
    

 
 
 
  

   

 

      
      

  

 
 
 
 

 

 

 

 

 

 

CIVIL RIGHTS ~ | PRISONER PETITIONS. [_|790 Other Laber Litigation 7 86S RST 405(33)
210 L and Condemnation 440 Other Civil Rights Habeas Corpus: ay 79\ Employze Retirement
[} 220 Foreclosure 441 Voting 463 Alien Detainee income Security Act
|_]230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate r , Lf: 876 Taxes (U.S. :
240 Torts to Land 443 Housing/ Sentence : : or Defendant)
245 Tort Product Liability Accommodations 530 General L_] e71 IRS—'Thitc Party z
LC 290 All Other Real Property 445 Amer. w/Disabilities - 535 Death Penalty S . Re _ 26 USC 7605, - Avct/Review om Ary i's.
Employment Other: 462 Naturalization Application 1 ss Agency Dec’ ion
446 Amer. w/Disabilities - 540 Mandainus & Other 465 Other Immigration |_} 950 Constitutions ity ov
Other 550 Civil Rights ~.. Actions . . ’ \ . Btate Statutes .
448 Education 555 Prison Condition i : oa
560 Civil Detainee -
Conditions of i
Confinement
V. ORIGIN (Place an “X” in One Box Only)
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cL . C OE Tee
Proceeding State Court Appellate Corrt : Reape ned. - ‘snothe

Cite the U.S. Civil Staiute under which yowars filing (2 nit cite jurisdicticnes

VE. CAUSE OF ACTION F- = semis

Brief description of cause’

 

 

 

 

WE. REQUESTED IN LC] CHECK IF THIS [S A CL "ASS A CTION ShMANDS
COMPLAINT: UNDER RULE 23. F.R.Cw.P. -

VUE. RELATED CASE(S)
IF ANY (See instructions):

  

 

 

DATE

 

¥ OR OFFICE USE ONLY : Jes ‘ De hae’ oe Pg 3

 

 

» RECEIPT # AMOUNT .. APPLYING JEP > 7 1UEGR oF? wat fee m Bile “MAG: Jo

 

 
JS 44 Reverse (Rev. 10/20) Case 2:21-cv-04232-GAM Document 2 Filed 09/24/21. Page 7 of 38 .

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet .

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form.as follows:

I(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use -
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county have the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney. of record. If there are several attorneys, list them on an attachment, notir 1
in this section "(see attachment)".

U.. Jurisdiction. The basis of jurisdiction i is set forth under Rule 8(a), F.R.Cv.P. | which requires that jurisdictions be shown in pikeilings. Place an "X"|
in one of the boxes. If there is more than one basis of jurisdiction, presedencet is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box..
Federal question. (3) This refers to suits under 28 U.S.C, 1331, where jurisdiction arises under the Constitution of the United States, an amendmert ....
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U. S. plaintiff or defendant code takes.
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Ill. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or

multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is-transferred into the district under authority of Titic 28 U. ok c

Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do net cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

 

 
9/3/2021 Case 2:21-cv-04232-GAM Document@erifiled 09/24/21 Page 8 of 38

Prepared For

DEBORAH HILL

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6 :

- Date generated: Aug 17,2021

 

 

 

 

 

Ata glance

FICO® Score 8

FICO SCORES

Experian data Aug 17, 2021

850
Bair "

Account summary Overall credit usage . ad a i Debt summary
Open accounts 413 Credit card and credit line debt : $5,094
Self-reported accounts 5 a / Self-reported account balance $517
Accounts ever late 15 Loan debt , $0
Closed accounts 14 Collections debt : $9,946
Collections 6 Total debt $15,557
Average account age 4yrs 2 mos
Oldest account 7 yrs 4mos

 

BD Credit used: $5,094

Credit limit: $2,900

https://usa.experian.com/member/printable-report/experian/now 1/40

 
9/3/2021

Open accounts

AVANT LLC/WEB BANK

Exceptional payment history

@ Account info
Account name
Account number
Original creditor
Company sold
Account type
Date opened
Account status
Payment status

Status updated

@ Payment history

Jan

2021 “

® Ontime

& Contact info

Address

Phone number

Comments

 

Case 2:21-cv-04232-GAM

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Feb Mar Apr

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AVANT LLC/WEB BANK

162201XXX

Credit Card
May 13, 2021
Open

Current

Aug 2021

222 N LASALLE ST STE 160 CHICAGO,

IL 60601

(800) 712-5407

https://usa.experian.com/member/printable-report/experian/now

 

Balance

Balance updated
Credit limit
Usage

Monthly payment
Past due amount
Highest balance
Terms
Responsibility

Your statement

Prepared For DEBORAH HILL Date generated: Aug 17, 2021

Aug

 

 

$298 |

Balance updated Aug 11, 2021

$298
Aug 11, 2021
$300

99%

$25 |

$358
Revolving

Individual

Sep Oct Nov Dec

 

 

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o expe ria Nn. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
2
@CCS/FIRST SAVINGS BANK $297 |
Exceptional payment history Balance updated Aug 02, 2021

Account info

Account name CCS/FIRST SAVINGS BANK Balance $297
Account number 543360XXXXXXXXXX Balance updated Aug 02, 2021
Original creditor - Credit limit $350
Company sold : Usage . ; : 84%
Account type Credit Card Monthly payment $30
Date opened Feb 26, 2021 Past due amount -
Account status Open Highest balance $339
Payment status Current Terms / . Revolving
Status updated Aug 2021 Responsibility Individual

Your statement =

i & Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2021 - - e & 2 e ® @ - a * =
® Ontime - Data unavailable
© Contact info
Address 500 E 60TH ST N SIOUX FALLS,
SD 57104
Phone number (888) 469-0297

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@ eX perian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
a
@CITICARDS CBNA $165
Exceptional payment history Balance updated Aug 11, 2021

€ Account info

Account name CITICARDS CBNA Balance ‘ — ‘ $65
Account number 542418XXXXXX Balance updated . Aug 11, 2021
Original creditor - Credit limit $200
Company sold ° Usage 82%
Account type Secured Credit Card Monthly payment $35
Date opened Mar 04, 2020 Past due amount -
Account status Open Highest balance $197
Payment status Current Terms Revolving
Status updated Aug 2021 Responsibility individual
Your statement -

© Payment history

 

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Contact info
Address PO BOX 6241 SIOUX FALLS,
SD 57117
Phone number By mail only
& Comments

 

 

 

 

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Case 2:21-cv-04232-GAM

Document®petailed 09/24/21 Page 12 of 38

Prepared For DEBORAH HILL Date generated: Aug 17, 2021

 

 

 

CREDIT ONE BANK NA

Exceptional payment history

“ Account info

 

Account name CREDIT ONE BANK NA Balance
Account number 444796XXXXXXXXXX Balance updated
Original creditor - Credit limit
Company sold - Usage
Account type Credit Card Monthly payment
Date opened Jul 20, 2020 Past due amount
Account status Open Highest balance
Payment status Current Terms
Status updated Aug 2021 Responsibility
Your statement
®& Payment history
Jan Feb Mar Apr May Jun Jul
2021 e e e e & ¢ e
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& Contact info
Address PO BOX 98875 LAS VEGAS,

NV 89193

Phone number (702) 269-1000

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Aug

$274

Balance updated Aug 03, 2021

$274

Aug 03, 2021
$300

91%

$30

$300
Revolving

Individual

Sep Oct Nov Dec

6/40

 
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en i
8 eX perian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
a
@FEB DESTINY/GF $378
Exceptional payment history Balance updated Jul 08, 2021

® Account info

 

Account name FEB DESTINY/GF Balance $378
Account number 513253XXXXXXXXXX Balance updated Jul 08, 2021
Original creditor - Credit limit $300
Company sold < Usage 126%
Account type Credit Card Monthly payment $40
Date opened Dec 16, 2020 Past due amount =
Account status Open Highest balance $378
Payment status Current Terms Revolving
Status updated Jul 2021 Responsibility individual

Your statement *

& Payment history

Jan Feb Mar Apr May Jun , Jul Aug Sep Oct Nov Dec
2021 2 e e & 2 e ® - - - - -
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& Contact info
: Address 15220 NW GREENBRIERPKWY BEAVERTON,
j OR 97606
Phone number (866) 502-6439

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a

 

@FIRST PREMIER BANK $677

Exceptional payment history Balance updated Aug 05, 2021

Account info

Account name FIRST PREMIER BANK Balance . $677
Account number 517800XXXXXXXXXX Balance updated Aug 05, 2021
Original creditor - Credit limit : $700
Company sold : Usage 96%
Account type Credit Card Monthly payment $48
Date opened Jun 29, 2021 Past due amount =
Account status Open Highest balance : $691
Payment status Current Terms Revolving
Status updated Aug 2021 Responsibility Individual

Your statement S

®& Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2021 * . : 2 . : e e “ . “ -
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© Contact info
Address 601 S MINNESOTA AVE SIOUX FALLS,
$D 57104

Phone number (605) 357-3000

Comments

Account information disputed by consumer i

 

 

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a eX perlan. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
a
@FIRST PREMIER BANK $384
Exceptional payment history Balance updated Aug 05, 2021
@ Account info
Account name FIRST PREMIER BANK Balance $384 i
Account number 517800XXXXXXXXKX Balance updated Aug 05, 2021
Original creditor - Credit limit $400
Company sold = Usage 96%
Account type Credit Card Monthly payment $30
Date opened May 29, 2020 Past due amount =
Account status Open Highest balance $399
Payment status Current Terms Revolving
Status updated Aug 2021 Responsibility Individual
Your statement 2
& Payment history
Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2021 e & 2 s & e @ ® - - - ¥
2020 * - = - - & ® 9 @ @ @ s
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Contact info
Address 601 S MINNESOTA AVE SIOUX FALLS,
SD 57104
Phone number (605) 357-3000
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Account information disputed by consumer i
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2X p e r | a Nn. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
®TBOM/ATLS/ASPIRE $337 :
Exceptional payment history Balance updated Jul 25, 2021
Account info
Account name TBOM/ATLS/ASPIRE Balance $337
Account number 550114XXXXXXXXXX Balance updated Jul 25, 2021
Original creditor - Credit limit $350
Company sold - Usage 96%
Account type Credit Card Monthly payment , é $34
Date opened Sep 09, 2020 Past due amount $
Account status Open Highest balance $378
Payment status Current Terms : Revolving
Status updated Jul 2021 Responsibility Individual
Your statement ‘ .

 

®@ Payment history

 

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2020 E : - - a : : F = = &
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Contact info
Address 5 CONCOURSE PKWY STE 400 ATLANTA,
GA 30328
Phone number (800) 348-8753 :

& Comments

 

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e&xperian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
@CHKG/COMCAST $212 |
Exceptional payment history TELECOM SELF-REPORTED ©
€ Account info
Account name TELECOM SELF-REPORTED Balance i $212
Account number O8CB67XXXXXXXXX Balance updated Aug 15, 2021
Original creditor CHKG/COMCAST Original amount $212
Company sold - Monthly payment $212
Account type Telecom Past due amount -
Date opened - Highest balance -
Account status Open Terms 1 Month
Payment status Current Responsibility individual
Status updated Aug 2021 Your statement :

 

@ Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
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2019 - - - : . ® : - ®
® Ontime - Data unavailable

Self-reported data is contributed through your Experian account. The account number listed on your Experian credit file is a tracking
number generated by Experian—not the account number at your bank or payee. Original creditor is the source of your self-reported
data (your bank) and the payee (the company to which you pay your bills). The balance and monthly payment reflect the most recent
payment recorded at your bank.

& Contact info

 

Address PO BOX 4500 ALLEN,
TX 75013
Phone number (855) 891-2743

® Comments

 

https://usa.experian.com/member/printable-report/experian/now 11/40

 

 
9/3/2021 Case 2:21-cv-04232-GAM

ea” :
@ Experian.

@CHKG/TMOBILE

Exceptional payment history

€ Account info
Account name
Account number
Original creditor
Company sold
Account type
Date opened
Account status
Payment status

Status updated

@ Payment history

Jan Feb
i 2021 - -

® Ontime

TELECOM SELF-REPORTED
CBEST CKXXXHXKAK
CHKG/TMOBILE

Wireless
Open
Current

Aug 2021

Mar Apr May Jun

- Data unavailable

DocumenttaperPiled 09/24/21 Page 18 of 38

Balance

Balance updaied
Criginai amount
Monthly payment
Past due amount
Highest balance
Terms
Responsibility

Your statement

Jul Aug

Prepared For DEBORAH HILL Date generated: Aug 17, 2021

$125 |

$125
Aug 15, 2021
$125

$125

1 Month
lndividual

Self-reported data is contributed through your Experian account. The account number listed on your Experian credit file is a tracking
number generated by Experian-not the account number at your bank or payee. Original creditor is the source of your self-reported
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payment recorded at your bank.

& Contact info

Address

Phone number

® Comments

PO BOX 4500 ALLEN,
TX 75013

(855) 891-2743

https://usa.experian.com/member/printable-report/experian/now

TELECOM SELF-REPORTED

 

 

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e* ® ,
e experian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
a
@CHKG/NETFLIX $19 i
Exoeptional payment history TELECOM SELF-REPORTED :

Account info

Account name TELECOM SELF-REPORTED Balance $19
Account number OEBFE5XXXXXXXXX Balance updated Jul 20, 2021
Original creditor CHKG/NETFLIX Original amount $19
Company sold - Monthly payment $19
Account type Telecom Past due amount =
Date opened - Highest balance =
Account status Open Terms 1 Month
Payment status Current Responsibility individual
Status updated Jul 2021 Your statement . ”

& Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2021 & & & g e ad ® 4 > < = =
2020 = ¢ ® e Cd & 2 ® & & e &
@ Ontime - Data unavailable

Self-reported data is contributed through your Experian account. The account number listed on your Experian credit file is a tracking
number generated by Experian—not the account number at your bank or payee. Original creditor is the source of your self-reported
data (your bank) and the payee (the company to which you pay your bills). The balance and monthly payment reflect the most recent
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& Contact info

Address PO BOX 4500 ALLEN,
TX 75013
Phone number (855) 891-2743

Comments

 

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a” ;
a experian.

@CHKG/PECOENERGY

Exceptional payment history

Account info
Account name
Account number
Original creditor
Company sold
Account type
Date opened
Account status
Payment status

Status updated

® Payment history

Jan Feb Mar Apr
2021 - e 2 &
2020 ¢ 5 . e
2019 - : ® ®

® Ontime - Data unavailable

Case 2:21-cv-04232-GAM

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Prepared For DEBORAH HILL Date generated: Aug 17, 2021

 

UTILITY SELF-REPORTED

515E59XXXXXXXXK
CHKG/PECOENERGY
Utility

Open

Current

Jui 2021

May Jun

$101

UTILITY SELF-REPORTED _

Balance $101
Balance updated Jul 26, 2021
Original amount $101
Monthly payment $101
Past due amount -
Highest balance -
Terms 1 Month
Responsibility individual
Your statement .
Jul Aug Sep Oct Nov Dec
@ = x
@ @ =
- S

Self-reported data is contributed through your Experian account. The account number listed on your Experian credit file is a tracking
number generated by Experian—not the account number at your bank or payee. Original creditor is the source of your self-reported
data (your bank) and the payee (the company to which you pay your bills). The balance and monthly payment reflect the most recent

payment recorded at your bank.

& Contact info

Address PO BOX 4500 ALLEN,
TX 75013
Phone number (855) 891-2743
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® ex pe na Nn.. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
2
@CHKG/PHILADELPHIAGAS $60 ©
Exceptional payment history UTILITY SELF-REPORTED :

Account info

Account name UTILITY SELF-REPORTED Balance $60
Account number 426CBEXXXXXXXXX Balance updated Mar 08, 2021
Original creditor CHKG/PHILADELPHIAGAS Original amount $60
Company sold - Monthly payment $60
Account type Utility Past due amount :
Date opened : Highest balance .
Account status Open Terms 1 Month
Payment status Current Responsibility individual
Status updated Mar 2021 Your statement ©

@ Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2021 - & ® « = - 2 2 bs es 3
2020 - $ - & & & 2 2 & & e
2019 - = - - - - - : - : = &
@ Ontime - Data unavailable

Self-reported data is contributed through your Experian account. The account number listed on your Experian credit file is a tracking
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data (your bank) and the payee (the company to which you pay your bills). The balance and monthly payment reflect the most recent
payment recorded at your bank.

Contact info

Address PO BOX 4500 ALLEN,
TX 75013
Phone number (855) 891-2743

® Comments

 

 

 

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9/3/2021

e* ;
@ exper ian..

@CBNA

Exceptional payment history

® Account info
Account name
Account number
Original creditor
Company sold
Account type
Date opened
Account status
Payment status

Status updated

Payment history

Jan
2015 e
2014 *
® Ontime

&3 Contact info

Address

Phone number

® Comments

 

Case 2:21-cv-04232-GAM

NA_ No applicable payment history

CBNA
601 164XXXXXXXAXXX

Charge Card
Jun 03, 2014
Closed

Paid satisfactorily

Oct 2015
May Jun
® &
* &

- Data unavaiiable

PO BOX 6497 SIOUX FALLS,

SD 57117

(800) 677-0232

Account closed at consumer's request

https://usa.experian.com/member/printable-report/experian/now

Balance

Balance updated
Credit limit
Monthly payment
Past due amount
Highest balance
Terms
Responsibility

Your statement

Jul

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Prepared For DEBORAH HILL Date generated: Aug 17, 2021

Aug

Closed :

Oct 09, 2015
$200
$193

Revolving
individual
Sep Oct Nov Dec
& NA =
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17/40

 
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2 @ 8 ° '
a expernian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
8
@ONEMAIN FINANCIAL 5
Exceptional payment history Closed

Account info

Account name ONEMAIN FINANCIAL Balance -
Account number 607382XXXXXXXXXX Balance updated Aug 31, 2016
Original creditor - Original amount $11,256
Company sold - Monthly payment ”
Account type Unsecured Loan Past due amount a
Date opened Jun 23, 2014 Highest balance :
Account status Closed Terms 60 Months
Payment status Account renewed or refinanced Responsibility individual
Status updated Aug 2016 Your staternent =

& Payment history

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2016 & & * & @ @ ® NA
2015 e & ® e
2014 - - - -
@ Ontime NA_ No applicable payment history - Data unavailable
& Contact info
Address PO BOX 1010 EVANSVILLE,
IN 47706
Phone number (844) 298-9773

® Comments

Account closed due to transfer or refinance

Account closed due to refinance

 

 

 

 

 

 

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e expe ra ni. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
@
@ONEMAIN FINANCIAL |
Exceptional payment history Closed

Account info

Account name ONEMAIN FINANCIAL Balance -
Account number 607382XXXXXXXXXX Balance updated Jan 31, 2017
Original creditor - Original amount $7,650
Company sold - Monthly payment =
Account type Unsecured Loan Past due amount ¢
Date opened Aug 17, 2016 Highest balance =
Account status Closed Terms 99 Months
Payment status Current Responsibility individual
Status updated % Jan 2017 Your statement iS

& Payment history

 

 

Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
2017 NA 2 = 2 é = a : = 2 : -
2016 - - - - - - - ® @ @ ® @
® Ontime NA_ No applicable payment history - Data unavailable
Contact info
Address PO BOX 1010 EVANSVILLE,
IN 47706
Phone number (844) 298-9773

® Comments
Transferred to another lender

Purchased by another lender

 

https://usa.experian.com/member/printable-report/experian/now 27/40

 

 
9/3/2021

e* ;
@ experian.

@TBOM/MILESTONE

1 late payment

€ Account info
Account name
Account number
Original creditor

Company sold

Account type
Date opened

Account status

Payment status

Status updated

) Payment history

Jan Feb
2021
2020
2019
2018

2017 30

* &@ @ © @ ¢

2016

2015 * .

®@ Ontime
- Data unavailable

& Contact info

Address

Phone number

© Comments

Account closed at consumer's request

 

Case 2:21-cv-04232-GAM

TBOM/MILESTONE
541051XXXXXXXXKX
Credit Card

May 08, 2015

Closed

Current, was past due 30 days

Aug 2021
Mar Apr May
e & @
e e e
@ es es
& e
& & s
& = s
30 days late

PO BOX 4499 BEAVERTON,
OR 97076

None provided”

https://usa.experian.com/member/printable-report/experian/now

Jun

@® © @ @ @ @

Account closed at consumer's request and dispute investigation completed —- consumer disagrees

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Prepared For DEBORAH HILL Date generated: Aug 17, 2021

Balance

Balance updated
Credit limit
Monthly payment |
Past due amount
Highest balance
Terms
Responsibility

Your statement

Jul Aug
8 NA
@ 2
& &
& &
® ®
a &
e e

NA_ No applicable payment history

 

$2,284

Closed ©

$2,284

Aug 04, 2021
$300

$0

$0

$2,284
Revolving

individual

Sep Oct Nov Dec

& &© © &@ 6 @
&® © &@ @ 6 @
@ @ @ &® 82 ®
@ @ @ © ©

28/40

 

 

 
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Public records

 

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® expernidn.

Prepared For DEBORAH HILL Date generated: Aug 17, 2021

Inquiries

 

CREDIT ONE BANK NA

Inquired on Jul 14, 2020
Business Type: Bank Credit Cards
PO BOX 98875

LAS VEGAS, NV 89193

(702) 269-1000

This inquiry is scheduled to continue on record until Aug 2022

TBOM/ATLS/ASPIRE
Inquired on Sep 8, 2020

Business Type: Bank Credit Cards
5 CONCOURSE PKWY STE 400
ATLANTA, GA 30328

(800) 348-8753

This inquiry is scheduled to continue on record unti] Oct 2022

JPMCB CARD

inquired on Jul 6, 2020

Business Type: Bank Credit Cards
PO BOX 15298

WILMINGTON, DE 19850

(800) 432-3117

This inquiry is scheduled to continue on record until Aug 2022

https://usa.experian.com/member/printable-report/experian/now

OLLO/TBOM/CWS

Inquired on Apr 22, 2021
Business Type: Bank Credit Cards
PO BOX 9222

OLD BETHPAGE, NY 11804
(877) 494-0020

This inquiry is scheduled to continue on record until May 2023

 

37/40

 
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By r
. eX perian. Prepared For DEBORAH HILL Date generated: Aug 17, 2021
8 : .

Credit scores

FICO® Score 8

Good

 

Your score is below the average score of U.S. consumers, though many lenders will approve loans with this
score.

  

 

Experian date 6/17/2021

What's helping
v Bills paid on time recently
° You've recently been paying your bills on time.
° Your most recent missed payment happened: 3 Years, 11 Months ago
© About 98% of FICO High Achievers have no missed payments at all. But of those who do, the missed payment happened nearly 4 years ago, on average.

* While you have missed payments in the past, you have recently been paying your bills on time. Staying current and paying bills on time demonstrates lower risk.

 

What's hurting
— Negative items

¢ You have a serious delinquency or derogatory indicator, public record and/or collection on your credit report.

¢ Number of your accounts that were ever 60 days late or worse or have a derogatory indicator: 9 accounts

© Virtually no FICO High Achievers have a 60 days late payment or worse listed on their credit report.

¢ Number of collections on your credit report: 6 collections

¢ Virtually no FICO High Achievers have a public record or collection listed on their credit report.

* The presence of a serious delinquency or derogatory indicator and a derogatory public record or collection is a powerful predictor of future payment risk. Most collections, public records and
delinquencies stay on the report for no more than seven years - though there are certain items that could remain longer. As these items age, they will have less impact on the FICO® Score. Satisfying the
public record or paying off the collection will not remove the item from a credit report. And it will still be considered by a FICO® Score as long as it is reported.

— High credit usage

¢ You've made heavy use of your available revolving credit.

¢ Ratio of your revolving balances to your credit limits: 161%

* For FICO High Achievers, the average ratio of the revolving account balances to credit limits is less than 7%.

* The FICO® Score evaluates balances in relation to available credit on revolving accounts. The extent of a person's credit usage is one of the most important factors considered by a FICO® Score. People
who keep their ratio of balances to credit limits lower are generally considered less risky to lenders than those with higher ratios. Note, consolidating or moving debt from one account to another will
usually not change the total amount owed.

— Bad payment history

* You have one or more accounts showing missed payments or derogatory indicators.

¢ Number of your accounts with a missed payment or derogatory indicator: 10 accounts

* About 98% of FICO High Achievers have no missed payments at all. But of those who do, the missed payment happened nearly 4 years ago, on average.

* The presence of missed and late payments or derogatory indicators on a credit report, including the number of late payments, how late they were and how recently they occurred, are correlated with future
credit risk. Your FICO® Score was lowered due to the number of missed and late payments and/or accounts with derogatory indicators.reported. As the number of accounts with delinquency or
derogatory indicators decreases, they have less impact on a FICO® Score.

— Short account history e

¢ You have a short credit history.

¢ Your oldest account was opened: 7 Years, 4 Months ago

¢ FICO High Achievers opened their oldest account 25 years ago, on average.

¢ Average age of your accounts: 4 Years, 2 Months

 

https://usa.experian.com/member/printable-report/experian/now

 

 

38/40

 
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© Most FICO High Achievers have an average age of accounts of 9 years or more.

i * People with longer credit histories who infrequently open new accounts generally pose less risk to lenders. In your case, the age of your oldest account and/or the average age of your accounts is
i relatively low.

 

 

https://usa.experian.com/member/printable-report/experian/now 39/40

 

 
 

Genesis FS. Cord Seruace ae

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pas. Better Business Bureau®

Home > Oregon > Beaverton > Consumer Finance Companies > Genesis FS Card Services, !r KX.
eviews .

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<< Customer Reviews

Syeeinel ppievis ts 9 15220 NW Greenbrier
Genesis FS Card Services, Pkwy Ste 200

Beaverton, OR 97006-

i n Cc 5/62

@ http://www.genesis-fs.co
m/

J (866) 502-6439

IGR
whey By Ay Bar Ay
 akakakak (1 star)

08/25/2021

Horrible card ,bank and costumer service they don't even have a fraud department hackers love this
bank be aware be careful go with another bank horrible experience be aware please they simply
don't care about the customer is really bad | have good **********srerrrr* always pay on time | got this
when | was younger an wow what a mistake waiting for my fraud issue to be resolved so | can close
this account please be aware of this people.

Lisa B

+ akararar
fr 52 V2 FFF (1 star) 08/24/2021 |

| would of not put any stars if | could. These people harass you several times a day for payment even
up to a week after you pay. Phone calls, emails, and letters in the mail over 10 days after you have
paid. They also are very up to date on bad reporting on your credit the day after your payment. They
are no help if your trying to fix your credit. ‘

nttps://Awww.bbb.org/us/or/beaverton/profile/consumer-finance-companies/genesis-fs-card-services-inc-1296-22002287/customer-reviews 4/7

 

 
9/3/2021 Case 2:21-cv-O428SiGARArd SoicemmentReviews |eaOGAwh/ss1Burpeag ers of 38
Claire marie C

ede oa bhp Py abs
akan arari (1 star)

08/20/2021

| just received my card . | had to use a good portion of my available credit due to a unforeseen ****. So,

it showed | had $15 available. On my account it show that a $75 fee was owed. So | paid the fee on

July 5 it was taken out of my account immediately end it took until the 20th of this month to reflect |

my available. | am beyond ****** First they said it could take up to 14 days to clear to process it <
processed on July 6 that money was out of my account and sitting somewhere collecting interest o .
something. | called customer service numerous times and was told to send a fax With my account
information showing that it was taken out of my bank account. So | sent a fax and | followed up an

they continue to tell me while sorry for the miss communication, but you will not see it on your card for
the full 14 days!! | spoke to several different supervisors customer service reps and it was a supervisor
that advised me to send the fax of my bank account to them to process it sooner. | did so and it just
came on my account today August 20 and | paid it on August 6 technically the fifth but it was taken

out on the 6th which | have verification of.| called to ask for the corporate office and they tell me that
there isnt one. Where was my $75 payment sitting for 14 days???

Je

a hy > A> As

mo eeeriian 08/19/2021
Do not use this card. | called to have my payment date changed right after | made a payment. They
told me that my account had to be current. That | would have to make a double payment at the end of
the month. | did not realize that it would come out automatically | assumed | would have to pay it as |
normally do. well when the time came | had some family issues come up and figured | would just pay
extra next month to change the pay day. But when | woke up the day after | was suppose to pay they
took the money out of my account which made my account negative. When | called them to try to
resolve the issue. They told me there is nothing they can do. because | agreed to everything over the
phone when my under standing was | was agreeing to the change of payment date. | expressed to
them that | miss understood what was going to take place. That they over drafted my account and all |
wanted to do was reverse the transaction so | could correct the mistake and they would not even give
it a second thought. Granted it was my mistake for misunderstanding them on the phone even though
the woman | was speaking to | could hardly hear a word of what she was saying. moral of the story
don't agree to anything over the phone. | have spent thousands of dollars with this company and nota
single curtesy for customer satisfaction. So as of this post | have made 3 months of payments in 1
months time. 2 of which | did not want to happen. So now | am out an entire paycheck and then some.
because they would not help me with reimbursing the extra 2 payments that | did not want to make in
the first place.

Crystle M

WII

mE el tad Wt) 08/17/2021
| dont know if theyre running some sort of scheme to make money but something is going on. | got an
account with them through Wayfair and | always make sure | pay all my bills on time. But when you
schedule your payment for some reason the scheduled payment disappears and that way they can
charge you a late fee. | pay my bills at least a week before the due date and so once | schedule the

navments | ao on about mv life then Ill aet multinle calls about the **** heina nast die. | think to mvself
https://www.bbb.org/us/or/beaverton/profile/consumer-finance-companies/genesis-fs-card-services-inc-1296-22002287/customer-reviews 2/7

 

 
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| know | i scheduled that payment so it was making think like Im losing my mind! This has happened to
me 3 times, | scheduled the payment, they delete the scheduled payment or do whatever they do,
then | get calls about my account being past due and now Im paying extra money.From now on lam
screenshotting EVERY PAYMENT.they not robbing me anymore!

Melissa N aa I<.

tives ran ru?
WW (1 star) 08/14/2021

| made a payment early like | always do this time they kicked it back with no reason why. They then
called me to tell me | was late. | told them what happened and she was so stupid she could not even
tell me why it got kicked back. | did pay the whole account off and when | did | seen | was charged an
extra $60.00 with no reason why. | do not recommend this company.

 

08/11/2021

Please avoid this card at all cost | knew about the fees associated with it but was hoping to starting
rebuilding my credit with it | got my card and of course got nailed with all the fees and now | figured |
would start paying it down so that my credit report would start showing a card with low balance. So |
made a payment and that has been two weeks ago and its still not posted | made a call and | was
assured that it would post by tomorrow which is 15 days and they guy told me that sometimes that just
happens with all credit companies and ugh no it does not. So now | get charged with all there fees
and interest and its making my credit worse because its showing a higher balance. PLEASE avoid at
all cost Im going to close this account ASAP.

Michael M

v7 k wv wy

(1 star) 08/10/2021
| have had this card for a year. Every payment made on time. After | made my last payment | get an
automated message to call them, so | call and then they proceed to tell me that they want another
payment of $131.00 for fees and annual fee. | am so unimpressed with this card and the customer
service. | suggest you stay away from this get nowhere card.

William C

07/27/2021

| signed up for their Card Services and received the card. Upon trying to activate the card | was
informed that the account was closed due to me calling in and requesting it. | did call them on the 19th
of July to try to change my mailing address however they refused. | do not understand how they can
send you a card that is closed and closed not upon request.

https://Awww.bbb.org/us/or/beaverton/profile/consumer-finance-companies/genesis-fs-card-services-inc-1296-22002287/customer-reviews 3/7

 

 
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Dietra P

 

Np of yp ely
ERT Se (stan 07/19/2021
Do not apply for any card attached to-the "Genesis Financial Solution Institution. Applied for their
Indigo Card. After hearing all the bad reviews, further confirms my right decision to close this accou
before it even got started. | was sent a bill, never received a card, which left a bad taste already in r
mouth. Called about the situation only to be asked would you be making a payment today, which also
confirmed my closing the account. Only then to be told to think about it, because the card can be
used for emergency purposes. My response" you just did not make that statement. You idiot this card
and a million others as well!!! Further confirmed my closing of this account. So glad | did not get
caught up in this circus of an Institution. So sorry so many had gotten caught up. Praying that
everyone can get themselves removed from them without further complications In Jesus Name!!!

Bug sol uy

Vg
fs (1 star) 07/16/2021

 

The worst credit company ive ever dealt with and would not recommend wasting your time paid on

most ridiculous excuse ive ever heard.

Gary D
WY WV (1 star)

 

07/05/2021

| have a **** **** home improver card. Through my genius credit.. **** ***** did not inform me that | was
not applying for a **** ***** card. And | received the improver card instead of the **** ***** card there is a
difference. | have always made payments on time or kept the card paid off. However it's declined so
far 75% of the time I've tried to use it. And I've been forced to use my business account. Apparently
after you make a payment and it's come out your account they hold the credit line available for up to
15 days. No thanks I'm done I've cut up the card. This is not worth the hassle. What good is the credit
line if you never know when it's going to work or not.

Della D

Wrvevzyw7zv7
im 06/26/2021

DO NOT GET THIS CARD!! Simply speaking the worst credit card anyone could get besides ******
** and the class action lawsuits against ****** *** are'through the roof. WARNING: FIND ANOTHER
CARD ‘

https://www.bbb.org/us/or/beaverton/profile/consumer-finance-companies/genesis-fs-card-services-inc-1296-22002287/customer-reviews 4/7

 

 
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Sammi R.

dy fo fo Ao ty
ye LL Mf DT (1 star) 06/23/2021
This company ignores any dispute request. ** **""*"*"* charged me 4k using Genesis FS and delivered

all broken down furnitures. Genesis FS refuse to investigate my claims after months of providing
documentation. On June 21, 2021, this company charged me 1100$ in interest without any notification
whatsoever. | cannot email/contact anyone. No one answers the phone. | have not used this card

since original scam in 9/2029 by *** *********, This company (FS Genesis) needs to be investigated I<.
asap. Please call me for further verification of this matter.

Benedict O

or fy y ie cb Noy
WIZZ (stan peruse
| will not encourage anybody to use Genesis fs. They are ripping people off their hard-earned money.
Their interest rate and repayment structure are very bad. | rate them Zero because | don't think they
have a conscience.

This company is awful

we hy Ay «hy Ay
KLLLY (1 star) 06/11/2021
These people took over an account. They claim they bought the debt. During COVID | had a hardship
and entered into an agreement. They said | could pay the amount for a year on time and they would
not report it on my credit. What do you think they did? They put a different amount than | agreed,
arbitrarily changed my due date and then reported it to the credit bureaus anyway. Took my credit
score down significantly. When | spoke to the agent again he asserted that he did the right thing. | got
caught up on my bill, but now their website and mobile app is down and the only way you can make
the payment is by giving their employees your bank account information. You think | am comfortable
with that and they have displayed 3 lies already? | can't wait until this bill is fully paid.

Justin B

 

‘ roy Ay get o>

Bed Sal tor AO Sea 05/31/2021
They lock your account if you make any changes to your profile. Their customer service
representatives will hang up on you. They only accept faxes and snail mail, no emails. They are
extremely rude and will not unlock your account unless you use the antiquated methods. They have
no concept of good customer service. You cannot find your account information without calling. Good
luck trying to reach someone.

Chauntay

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vy No (1 star)
eS 7% Ay
Wrz wy 05/28/2021

| have had nothing bur wrong charges for fees and they hold payments if | go to make a payment
center they only accept 895 fee charged to pay them at the Walmart payment center and then
incalled to close this fee charging fees over and over again cancel the card she told me know the
phone it's going on my credit report why | said shows | closed it is not good for my credit report why
would that be she didn't know but it won't be good thing | hate this company they R total bullies

Matt w.

Wve w (star) 05/26/2021
| signed up through ****** ***** and apparently entered my birthdate incorrectly. After many attempts to
make an account online (so | could see what my transactions were) | had no luck. | made a payment
using the automated phone system and then started to notice my balance mysteriously shrinking
when | was not using the card. So, | called up customer service only to find they use the same voice
changing technology as those crime shows that protect the identity of the whistle blower or victim
with a robo-voice but fortunately for me it stopped working halfway through the call so miraculously |
could understand the person on the other end. They only needed me to fax a copy of my license in
order to change the birthday which is the only way | can sign up to see my transactions. So now | have
to finish paying off this card and hope they let me cancel it without faxing my ID. That is something |
can't comprehend. They didn't need the ID when | opened the account. They didn't need the ID when
| paid the bill for the first time. But when | want to know what I'm being charged for | have to jump
through hoops. It sounds like identity theft to me. And when the BBB has over 1000 reports in the last
three years it only reassures my fears. Please save yourself the frustration. | know it can be hard when
you need a little help and they're the only ones offering it but think why would a company let almost
anyone with a SS # and address sign up. You don't even have to enter the right info. But if you want to
change it they'll need you to bring as much proof as the DMV will want when you change your
address. It's absurd.

Debbie Y

ey wed wy ©
$e x2 C2 72 YF (1 star) 05/21/2021

All of the payments made | thought | was boosting my credit score. Someone closed my account back

After paying month after month. What a fraud! Never again!!!

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Profiles.

When considering complaint information, please take into account the company's size and volume of transactions, and understand
that the nature of complaints and a firm's responses to them are often more important than the number of complaints.

BBB Business Profiles generally cover a three-year reporting period. BBB Business Profiles are subject to change at any time. If you
choose to do business with this business, please let the business know that you contacted BBB for a BBB Business Profile.

https://Awww.bbb.org/us/or/beaverton/profile/consumer-finance-companies/genesis-fs-card-services-inc-1296-22002287/customer-reviews 6/7

 

 
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As a matter of policy, BBB does not endorse any product, service or business.

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